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7
8                                UNITED STATES DISTRICT COURT
9                              NORTHERN DISTRICT OF CALIFORNIA
10                                        SAN JOSE DIVISION
                                                                         *E-FILED - 8/2/06*
11
12   UNITED STATES OF AMERICA,                    )      No. CR 06-00054-RMW
                                                  )
13           Plaintiff,                           )       xxxxxxxxx ORDER AFTER HEARING
                                                         [PROPOSED]
                                                  )      EXCLUDING TIME UNDER THE
14      v.                                        )      SPEEDY TRIAL ACT
                                                  )
15   JOSE SOLER,                                  )
        a/k/a antboogie,                          )
16      a/k/a Jas125,                             )
            Defendants.                           )
17                                                )
18
        On July 17, 2006, the above-captioned case came on for a status conference hearing.
19
     Defendant Jose Soler, who was not present, was represented by defense attorney Carleen R.
20
     Arlidge, who was present. The United States was represented by Assistant U.S. Attorney Mark
21
     L. Krotoski.
22
        Defense counsel requested for the first time a mirror image of her client’s hard drive for
23
     review by a defense expert. Government counsel indicated once the defense provided blank hard
24
     drives, copies would be made.
25
        At the hearing, the Court set a status conference for September 25, 2006 at 9:00 a.m.
26
        The parties agreed and the Court independently found that time should be excluded under the
27
     Speedy Trial Act from July 17, 2006 until September 25, 2006, to allow defense counsel time to
28

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1    prepare, pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(iv) (reasonable time necessary
2    for effective preparation taking into account the exercise of due diligence and continuity of
3    counsel).
4        Specifically, the ends of justice served by the granting of the continuance outweigh the best
5    interests of the public and the defendant in a speedy trial, after considering the relevant factors:
6        (i) The failure to grant such a continuance in the proceeding would be likely to result in a
7            miscarriage of justice since new defense counsel needs reasonable time to prepare and
8            pursue other investigation, particularly given the request for her expert to review copies
9            of the defendant’s hard drive;
10    (ii)   The failure to grant such a continuance would deny counsel for the defendant reasonable
11           time necessary for effective preparation, taking into account the exercise of due
12           diligence;
13   (iii)   The request for the exclusion of time is also based on substitution of new counsel, and
14           the government concurs that time is warranted and appropriate for these matters under
15           the circumstances;
16    (iv) The request for the exclusion of time is reasonable and specifically limited in time until
17           September 25, 2005, after allowing time for reasonable time for defense counsel to obtain
18           blank hard drives and provide them to the government for copying and to review the
19           copies made and provided.
20       For the foregoing reasons, the ends of justice served by the granting of such continuance
21   outweigh the best interests of the public and the defendant in a speedy trial, and given that the
22   defense needs reasonable time necessary for effective preparation, taking into account the
23   exercise of due diligence. 18 U.S.C. S 3161(h)(8)(A).
24           This written order memorializes the oral rulings of the Court made on July 17, 2006
25                 2 2006
     Dated: August __,
26
27                                                           /s/ Ronald M. Whyte
                                                            _________________________
                                                            RONALD M. WHYTE
28                                                          United States District Judge

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